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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


     STATE OF NEW YORK, et al.,

                           Plaintiffs,

                v.

     U.S. DEPARTMENT OF LABOR, et                        Civil Action No. 1:18-cv-01747-JDB
     al.,

                           Defendants.
 
                     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

          Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs hereby move for summary

judgment on the grounds that there is no genuine issue of disputed material fact and that they are

entitled to judgment as a matter of law.

          In support of this motion, Plaintiffs submit the accompanying (1) memorandum of law;

(2) declarations in support; and (3) a proposed order.


Dated: August 23, 2018


Respectfully Submitted,

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